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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

RHINO AVIATION CJ5 1O LLC AND                       $
SB 501 LLC,                                         $
                                                    $
Plaintiffs,                                         $            Civil Action No . 4:24-cv-006 15
                                                    $
V.                                                  $
                                                    $
WHITMORE HOLDINGS LLC AND                           $                    Jury Demanded
DIJPAGE AEROSPACT CORPORATION,                      $
                                                    $
Defendants.                                         $




                                    UNSWORN DE,CLARATION

       I, Douglas E. Stimpson,ll740 Airport Way, Broomfield, Colorado,
       DOB 3-8-1949, hereby declare under penalty of perjury, as follows:

       l. I am an expert consultant in the field of aviation safety and accident reconstruction.
              My curriculum vitae is attached hereto as Exhibit A.

       2.     I have been retained as an expert in the above captioned matter by Brendan P. Doherty
              and the law firm Gieger, Laborde & Laperouse to investigate the collision between two
              aircraft, a cessna citation Mustang, N510HM (the "Mustoflg"), and a Raytheon
              Hawker 850xP, N269AA (the "Hawker"), which took place on october 24, atHobby
              Airport in Houston, Texas.
       a
       J.     I have reviewed, the preliminary data,and am still in the process of reviewing, the flight
              data and additional materials provided to me regarding the collision.

       4. My investigation is ongoing, and my impressions are subject to change, but my
              preliminary impressions are as follows.

       5. Prior to the collision, the Mustang had been cleared by Air Traffic Control ("ATC") to
              land on runway 13R and was approaching for landing.

       6.     At approximately 3: I 8 p.m., ATC reportedly instructed the Hawker to line up and wait
              on runway 22, which is a runway that intersects with runway 13R. The crew of the
              Hawker reportedly acknowledged that instruction.

       7.     At approximately 3: 19 the Hawker began a takeoff roll.



                                             EXHIBIT B
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          8.   At 3:19:47, ATC reportedly radioed to the Hawker to stop and hold its position. The
               Hawker allegedly did not respond or acknowledge the instruction.

          9.   Six seconds later, ATC again reportedly radioed to the Hawker to stop and hold its
               position, and again received no reported response.

          10. As the Mustang landed, the Mustang and the Hawker collided.


          11. Following the initial instruction by ATC to the Hawker to reportedly stop and hold its
               position, the Mustang, which had been cleared to land, was still airborne.

          12.In the seconds after giving that first instruction, when the Hawker did not immediately
             respond by stopping. It would have been prudent for ATC to have immediately radio
             the Mustang and instruct the Mustang to abort its landing.

          13. Following the second instruction by ATC to the Hawker to stop and hold its position,
               the Mustang was still airborne.

          14. Had the Mustang been instructed by ATC to abort its landing in the seconds between
               the ATC's first and second instruction, or even after the second instruction to the
               Hawker, the Mustang more likely than not could have aborted the landing and the
               collision would have been avoided.

          15. Additionally, at Hobby Airport, there is only one tower frequency, and therefore, the
             crew of the Mustang likely would have heard the radio calls from ATC to the Hawker
             and would likely have been made aware of a problem (specifically an aircraft moving
             without ATC consent) transpiring on runway 22.

          16. Despite having been cleared for landing, the crew of the Mustang likely could have
               aborted the landing on their own once they realized that the Hawker was intending on
               taking off on a runway that intersected with runway 13R, on which they were preparing
               to land. Had they done so, the collision would have been avoided.

          17. The foregoing analysis is preliminary. My investigation is ongoing, and these
              preliminary impressions are subject to change.

          18. The NTSB has not yet completed its f,rnal report and probable cause report. The NTSB
              typically issues its final and probable cause report within 12-24 months of an accident.l




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  I declare, under penalty of perjury, that the foregoing is true and correct.

  Signed this 16 day of September 2024 in Broomfield, Colorado.




                                                         Dougl      . Stimpson




                                    EXHIBIT B
